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Cardinal Health SOM Program                                                                                                                       February 2009 Summary




                             SOM Events per Month                                                                      SOM Events per DC (Feb 09)
 1,000                                                                                        45
     900                                                                                      40
                                   793
     800
                                                                                              35
     700   662
                                                                                              30
     600         551
                       466                     477                                            25
     500                     421                                             432
     400                                 359                    327 299                       20
     300                                             219 203                                  15
     200                                                                                      10
     100                                                                                       5
       0
                                                                                               0
           Mar Apr May Jun         Jul Aug Sep Oct Nov Dec Jan Feb                                  3   6   8   9 10 11 15 16 18 19 24 26 27 28 29 32 34 35 37 43 53 55
           '08 '08 '08 '08         '08 '08 '08 '08 '08 '08 '09 '09



                              SOM Events per Day                                                                  SOM Events per Base Code (Feb 09)
60                                                                                           60

50
                                                                                             50
40
                                                                                             40
30

20                                                                                           30

10                                                                                           20
 0
      2/1/2009
      2/2/2009
      2/3/2009
      2/4/2009
      2/5/2009
      2/6/2009
      2/7/2009
      2/8/2009
      2/9/2009
      2/10/2009
      2/11/2009
      2/12/2009
      2/13/2009
      2/14/2009
      2/15/2009
      2/16/2009
      2/17/2009
      2/18/2009
      2/19/2009
      2/20/2009
      2/21/2009
      2/22/2009
      2/23/2009
      2/24/2009
      2/25/2009
      2/26/2009
      2/27/2009
      2/28/2009




                                                                                             10

                                                                                              0




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                                                                                                                                        PLAINTIFFS TRIAL
                                                                                                                                            EXHIBIT
                                                                                                                                       P-00077_00001
                                                                                                                                                                     P-00077 _ 001
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Cardinal Health SOM Program                                                                                                                                                                February 2009 Summary




                      SOM Events per Segment per Month                                                                                   Suspicious Orders Reported to DEA
                    1,000                                                                                         20
                                                                                                                             19
                                                                                                                  18
                         800
                                                                                                                  16
                                                                                                                  14
                         600
                                                                                                                  12                          12
                                                                                                                  10
                         400                                                                                                         9                                                                       9
                                                                                                                   8
                         200                                                                                       6                                         6
                                                                                                                   4                                                                           4
                           0                                                                                       2                                   2                                            2                   2
                               M ar     Apr   M ay    Jun     Jul   A ug    Sep    Oct   No v   Dec   Jan   Feb
                                                                                                                   0                                                   0       0      0
                               '08      '08   '08     '08     '08    '08    '08    '08   '08    '08   '09   '09

 RETA IL PHA RM A CY -             19   16     11     15      88    57       34    31     15    22    30    45
                                                                                                                        Mar- Apr- May- Jun-                Jul- Aug- Sep- Oct- Nov- Dec- Jan- Feb-
 M ANA GED CA RE                                                                                                         08   08   08   08                  08   08   08   08   08   08   09   09
 RETA IL INDEPENDENT           634      529   452     402     700   299      436   161   168    257   199   253
 PRA CTITIONER                           1                                                       1     1     9
 M ANUFACTURER                                 1                                                       1     3
 HOSP ITAL/CLINIC                  4    2      1       1       2              1     2     2      4    36    66                     SOM Events Created by Order Entry Error
 DISTRIBUTOR                       2    2      1       1       2     2        1     1            1    2      1                           40
 CHA IN P HA RM ACY                3                   2             1        4    23     17    40    26    51
 CENTRA L FILL P HA RM ACY               1                     1              1     1     1      2    4      4                           30

                                                                                                                                         20
             Orders of Interest Reported to Corporate QRA
                                                                                                                                         10

             60                                                                                                                           0
                                                                                   44                                                          Sep '08       Oct '08       No v '08   Dec '08      Jan '09       Feb '09

             40                                                                                                     RETA IL P HA RM A CY -                                    1                      2              2
                                                       21                                                           M A NA GED CA RE
             20                                                                                                     RETA IL INDEP ENDENT                         5            6           19         8             10
                               5                                                                                    HOSP ITA L/CLINIC                            1                                   4              8
              0                                                                                                     DISTRIB UTOR                                                                        1
                         Dec '08                    Jan '09                   Feb '09                                                              1             6            10          14         11             6
                                                                                                                    CHA IN P HA RM A CY




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                                                                                                                                                                                                                            P-00077 _ 002
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Cardinal Health SOM Program                                                                                                   February 2009 Summary




Distribution Center                   Drug Family                                                      SOM Segments

 DC   DC Name          Base Code   Base Code Description                          QRA Segment                      Explanation
 3    SYRACUSE            1205     LISDEXAMFETAMINE MESYLATE                      CENTRAL FILL PHARMACY            ACTIVITY CODE A,1
 6    BOSTON              1640     PHENTERMINE HYDROCHLORIDE                      CHAIN PHARMACY                   ACTIVITY CODE A,3
 8    WHEELING            1724     METHYLPHENIDATE HYDROCHLORIDE                  DISTRIBUTOR                      ACTIVITY CODE F
 9    KNOXVILLE           2737     CLONAZEPAM                                     HOSPITAL/CLINIC                  ACTIVITY CODE B
 10   JACKSON             2765     DIAZEPAM                                       MANUFACTURER                     ACTIVITY CODE E
 11   LAKELAND            2783     ZOLPIDEM BITARTRATE(HEMI)                      PRACTITIONER                     ACTIVITY CODE C OR M
 15   AURORA
                          2882     ALPRAZOLAM
                                                                                  RETAIL INDEPENDENT               ACTIVITY CODE A,0; INDEPENDENT
 16   DALLAS
                          2885     LORAZEPAM
 18   ST.LOUIS                                                                    RETAIL PHARMACY - MANAGED CARE   ACTIVITY CODE A; MANAGED CARE
                          4187     TESTOSTERONE
 19   PHOENIX                                                                     RETAIL PHARMACY OTHER            ACTIVITY CODE A
                          5001     TRAMADOL
 24   HUDSON
                          8112     PSEUDOEPHEDRINE [LIST 1 CHEMICAL]
 26   GREENSBORO
                          9050     CODEINE PHOSPHATE
 27   KANSAS CITY
                          9064     BUPRENORPHINE HYDROCHLORIDE
 28   HOUSTON
 29   DENVER              9120     DIHYDROCODEINE BITARTRATE

 32   VALENCIA            9143     OXYCODONE HYDROCHLORIDE

 34   SACRAMENTO          9150     HYDROMORPHONE HYDROCHLORIDE
 35   SALT LAKE           9170     DIPHENOXYLATE HYDROCHLORIDE
 37   SEATTLE             9193     HYDROCODONE BITARTRATE
 43   SWEDESBORO          9250     METHADONE HYDROCHLORIDE
 53   FINDLAY             9273     DEXTROPROPOXYPHENE NAPSYLATE
 55   ATLANTA             9300     MORPHINE SULFATE
                          9709     PENTAZOCINE HCL
                          9801     FENTANYL CITRATE




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